




02-11-024-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-11-00024-CV 

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&nbsp;


 
  
  Richard A. Roberts and Vanessa Roberts
  
  
  &nbsp;
  
  
  APPELLANTS
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Wells Fargo Bank, N.A.
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


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FROM County
Court at Law No. 1 OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On March
8, 2011, we notified appellants that the trial court clerk
responsible for preparing the record in this appeal had informed this court
that arrangements had not been made to pay for the clerk=s
record as required by Texas Rule of Appellate Procedure 35.3(a)(2).&nbsp; See Tex.
R. App. P. 35.3(a)(2).&nbsp; We stated that we would dismiss the appeal for want of
prosecution unless appellants, within fifteen days, made
arrangements to pay for the clerk=s
record and provided this court with proof of payment.&nbsp; 

Because
appellants have not
made payment arrangements for the clerk=s
record, it is the opinion of the court that the appeal should be dismissed for
want of prosecution.&nbsp;&nbsp; Accordingly, we dismiss the appeal.&nbsp; See Tex. R.
App. P. 37.3(b), 42.3(b).

Appellants
shall pay all costs of the appeal, for which let execution issue.

&nbsp;

PER CURIAM

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&nbsp;

PANEL:&nbsp;
GABRIEL,
J.; LIVINGSTON, C.J.; and DAUPHINOT, J.

&nbsp;

DELIVERED:&nbsp;
April 14, 2011









[1]See Tex. R. App. P. 47.4.







